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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH

NATHANIEL PAUL, on behalf of himself            §
and others similarly situated,                  §                        4:19-cv-76
                                                        CIVIL ACTION NO. __________
                                                §
                      Plaintiff,                §
                                                §         JURY TRIAL DEMANDED
v.                                              §
                                                §
TITAN STAIRS & TRIM, INC.,                      §          COLLECTIVE ACTION
KENDALL D. PRISBREY, and KODY                   §
PRISBREY                                        §
                                                §
                      Defendants.


                           COLLECTIVE ACTION COMPLAINT

       1.      Titan Stairs & Trim, Inc. (“Titan”), an architectural supply and installation

company, Kendall D. Prisbrey, and Kody Prisbrey (collectively “Defendants”), violated the Fair

Labor Standards Act (“FLSA”) by forcing Plaintiff Nathaniel Paul (“Plaintiff” or “Mr. Paul”)

and similarly situated workers, to work a substantial amount of overtime without properly paying

all compensation due, thus depriving them of rightful compensation for their work that

Defendants are legally obligated to pay.

       2.      Mr. Paul worked for Defendants as a store clerk/laborer and was damaged by

those illegal policies or practices.       In short, Mr. Paul was denied the timely overtime


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compensation he was due under the FLSA. Mr. Paul brings this lawsuit on behalf of himself and

all other similarly situated current or former hourly-paid store clerks/laborers to recover unpaid

wages and overtime compensation, liquidated damages, attorneys’ fees, and costs owed to him

individually and on behalf of other similarly situated individuals.

                             I.     JURISDICTION AND VENUE

       3.      This Court has original subject matter jurisdiction under 28 U.S.C. § 1331

because Plaintiff’s claims arise under federal law, namely the FLSA, 29 U.S.C. § 201 et seq.

       4.      Venue is proper because a substantial part of the acts and omissions giving rise to

Plaintiff’s claims occurred in Saint George, Utah. 28 U. S. C. § 1391(b)(2).

                                     II.     THE PARTIES

       5.      Mr. Paul worked as a store clerk/laborer for Defendants. He regularly worked in

excess of 40 hours per week without receiving all the compensation he was due under the FLSA.

Plaintiff Nathaniel Paul’s FLSA consent is attached as Exhibit A.

       6.      The FLSA class of similarly situated employees consists of all current and former

hourly-paid store clerks/laborers, who were employed by Defendants during the three-year

period preceding the filing of this Complaint. These similarly situated individuals are referred to

as the “Members of the Class” or “the Class.”

       7.      Defendant Titan Stairs & Trim Inc. is a domestic for-profit corporation with a

principal place of business at 188 North 3050 East Bldg. B1, Saint George, Utah 84790, which is

engaged in commerce in the United States and is otherwise subject to the FLSA. Titan employed

Plaintiff and Members of the Class within the meaning of the FLSA. Titan may be served with

process by serving its Registered Agent, Robert M. Jensen at 216 St. George Blvd., Suite 200,

Saint George, Utah 84770.



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       8.      Defendant Kendall D. Prisbrey is a co-owner and a principal of Defendant Titan

and an individual residing in Utah. Kendall D. Prisbrey, upon information and belief, possessed

control over Titan’s actual operations in a manner that directly relates to Plaintiff’s employment

and that of those similarly situated. Kendall D. Prisbrey directly affected employment-related

factors such as workplace conditions and/or operations, personnel, and/or compensation, and by

doing so, regularly transacted within this district. Kendall Prisbrey may be served with process

at 882 S 800 E Box 544, New Harmony, Utah 84757.

       9.      Defendant Kody Prisbrey is a co-owner and a principal of Defendant Titan and an

individual residing in Utah. Kody Prisbrey, upon information and belief, possessed control over

Titan’s actual operations in manner that directly relates to Plaintiff’s employment and that of

those similarly situated. Kody Prisbrey directly affected employment-related factors such as

workplace conditions and/or operations, personnel, and/or compensation, and by doing so,

regularly transacted within this district. Kody Prisbrey may be served with process at 2065 S

Log Ln, Washington, Utah 84780.

                                    III.    BACKGROUND

       10.     The preceding paragraphs are incorporated by reference.

       11.     Defendants operate a turnkey supply and installation company with multiple

locations in Utah.    Defendants offer custom-made, architectural products and materials for

interior stairs and railings, exterior stairs and railings, doors, gates, and fencing. Additionally,

Defendants provide construction and installations services of their products. Defendants employ

store clerks/laborers to assist their customers with building and installing their staircases and

other architectural products.




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       12.     Upon information and belief, Plaintiff and Members of the Class regularly worked

in excess of 40 hours per week. However, Defendants did not pay their store clerks/laborers one

and one-half times their regular rate for all hours in excess of 40 each week. Instead, Defendants

only pay/paid their store clerks/laborers straight-time pay (no overtime) for all hours worked,

including the hours worked in excess of 40 hours in a workweek. As a result, Defendants failed

to properly compensate their employees under the FLSA.

                    IV.     PLAINTIFF’S INDIVIDUAL ALLEGATIONS

A.     Defendants Failed to Properly Pay Regular and Overtime Compensation.

       13.     The preceding paragraphs are incorporated by reference.

       14.     Plaintiff worked for Defendants as a store clerk/laborer, where he performed

various tasks, including but not limited to assisting customers, initiating paperwork, going to

jobsites, taking measurements and pictures, ordering products and supplies, building/constructing

products, and installing products at the jobsites. During his employment, Plaintiff often worked

approximately 55 hours or more in a workweek.

       15.     During Plaintiff’s employment, Defendants paid him a set hourly rate for all hours

worked in a workweek, and Plaintiff was paid on a biweekly basis. For the hours worked in

excess of 40 hours per week, Defendants paid Plaintiff his straight-time rate, rather than one and

one-half times his regular hourly rate.

       16.     The FLSA and applicable regulations require that non-exempt individuals like

Plaintiff and Members of the Class receive at least minimum wage for all hours suffered or

permitted to work, as well as overtime compensation at a rate of 1.5 times their regularly hourly

rate for all hours worked over 40 in a workweek. Defendants should have paid Plaintiff for 40




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hours of regular pay and at least 15 hours or more of overtime compensation in a typical week,

but Defendants failed to pay Plaintiff that amount.

       17.     By failing to pay Plaintiff as described above, Defendants have deprived Plaintiff

of a significant amount of regular and overtime compensation to which he is rightfully entitled.

B.     Defendants Willfully Violated the FLSA.

       18.     The FLSA and Department of Labor regulations require that individuals receive at

least minimum wage for all hours suffered or permitted to work. In addition, the FLSA and

Department of Labor regulations set forth the proper means for calculating and paying minimum

wage and overtime compensation to non-exempt employees like Plaintiff. Defendants failed to

follow these rules when paying Plaintiff.

       19.     Defendants have or had a policy and/or practice of not paying their employees for

all of the regular time and overtime they worked each week at the proper rate. Defendants

should have paid their employees their regular rate for all hours worked, and they should have

paid their employees overtime compensation at 1.5 time their regular rates for all hours worked

in excess of 40 hours per week.

       20.     Defendants knew or have shown reckless disregard for the requirements of the

FLSA with respect to compensation for Plaintiff.

                  V.      FLSA COLLECTIVE ACTION ALLEGATIONS
                                UNDER 29 U.S.C. § 216(B)

       21.     The preceding paragraphs are incorporated by reference.

       22.     Plaintiff is aware that Defendants’ illegal pay policies or practices have been

imposed upon Members of the Class. Like Plaintiff, Members of the Class are employed by

Defendants as store clerks/laborers, who performed the same duties as Plaintiff, as described




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above. As with Plaintiff, Members of the Class frequently work(ed) substantial amounts of

overtime that was not properly compensated in accordance with the FLSA.

        23.     Upon information and belief, the Members of the Class are/were also not properly

paid for all hours suffered or permitted to work, as described above with regard to Plaintiff.

        24.     Defendants’ failure to properly compensate Plaintiff and Members of the Class

results, upon information and belief, from a generally applicable policy and/or practice.

Specifically, upon information and belief, it is a policy and/or practice of Defendants to pay their

employees for less than all the overtime hours that such workers are suffered or permitted to

work. As such, the Members of the Class are owed additional overtime compensation plus

liquidated damages, attorneys’ fees, and expenses for precisely the same reasons as Plaintiff.

        25.     Accordingly, the FLSA collective class of similarly situated plaintiffs is properly

defined as:

                All current and former hourly-paid store clerks/laborers, who
                were employed by Defendants during the three-year period
                preceding the filing of this complaint.

        26.     Members of the Class should be notified of this lawsuit and given the opportunity

to opt-in if they so desire.

        27.     Notice from this Court should be expedited to protect these workers from losing a

portion of their damages due to the running of the statute of limitations.

                                 VI.     CAUSES OF ACTION

        28.     The preceding paragraphs are incorporated by reference.

        29.     As set forth above, Defendants violated the FLSA with respect to Plaintiff and

Members of the FLSA Class by failing to pay at least minimum wage for all hours suffered or




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permitted to work in a week and by failing properly compensate for overtime hours, as described

above. 29 U.S.C. §§ 206, 207.

        30.     Plaintiff and Members of the Class are entitled to recover at least a minimum

wage for all hours worked, as well as overtime compensation at one and one-half times their

regular rates of pay for all hours worked in excess of 40 hours in a week. 29 U.S.C. §§ 206, 207,

216 (b).

        31.     In addition, Plaintiff and Members of the Class are entitled to liquidated damages

in an amount equal to their unpaid wages, including overtime wages. 29 U.S.C. § 216(b).

        32.     Moreover, Plaintiff and Members of the Class are entitled to reasonable attorneys’

fees and costs. Id.

                                      VII.   JURY DEMAND

        33.     Plaintiff demands a jury trial. Any required jury fee has been or will be timely

paid.

                                             PRAYER

        WHEREFORE, Plaintiff requests that this Court enter final judgment against Defendants

Titan Stairs & Trim, Inc., Kendall D. Prisbrey, and Kody Prisbrey for:

        1.      damages for the full amount of unpaid wages due under the FLSA in favor of

Plaintiff and Members of the Class;

        2.      damages for the full amount of unpaid overtime compensation due under the

FLSA in favor of Plaintiff and Members of the Class;

        3.      an amount equal to unpaid wages, including unpaid overtime compensation, as

liquidated damages pursuant to 29 U.S.C. § 216 in favor of Plaintiff and Members of the Class;

        4.      reasonable attorneys’ fees, costs and expenses of this action;



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      5.     pre-judgment and post-judgment interest at the highest rate allowed by law; and

      6.     such other and further relief as may be allowed by law.


DATED this 12th day of September, 2019

                                          Respectfully submitted,

                                          GALLIAN WELKER & BECKSTROM, LLC

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                    EXHIBIT A
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                                     NOTICE OF CONSENT


       I consent to be a party plaintiff in this action and, if necessary, a subsequent action, to
recover any unpaid wages owed to me by:
  TITAN STAIRS & TRIM, INC., and related entities
___________________________________________________________________________.

      I consent to join the lawsuit in which this Notice of Consent is filed by Bailey Cowan
Heckaman PLLC and/or any of its co-counsel (collectively “BCH”) and on my behalf (the
“Lawsuit”).

        I performed the duties and was paid in the manner described in the active Complaint or
Petition in this Lawsuit.

        If I am not a Named Plaintiff in this Lawsuit (i.e., if my name does not appear at the top
of the first page of pleadings in this Lawsuit), then I authorize the named Plaintiff(s) and BCH to
file and prosecute the Lawsuit on my behalf, and I designate the named Plaintiff(s) to make
decisions on my behalf concerning the Lawsuit, including negotiating and deciding a resolution
of my claims, including any pretrial or post-trial settlement, and I understand that I may be
bound by such decisions, subject to Court approval if necessary or required.

       I agree to be represented by BCH in this Lawsuit. I agree to be bound by the Contract of
Representation executed between the named Plaintiffs in this Lawsuit and BCH, subject to the
additional terms stated in this Notice of Consent. I may obtain a copy of the executed
Contract(s) of Representation by contacting BCH in writing.

       In the event this Lawsuit is not certified or is decertified, I authorize BCH to reuse this
Notice of Consent to re-file my claims in separate or related action(s) against the named
Defendant(s) in this Lawsuit.

                       ______________________________________________
                       Signature


                          Nathaniel paul
                       ______________________________________________
                       Full Legal Name (print)


                               5/23/19
                       ______________________________________________
                       Date


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